                                                                                     Case 2:19-cv-00252-JAD-VCF Document 50 Filed 09/29/21 Page 1 of 3



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                                                                               5 Attorneys for Plaintiffs Board of Trustees of the
                                                                                 Painters & Floorcoverers Joint Committee, et al.
                                                                               6
                                                                                                           UNITED STATES DISTRICT COURT
                                                                               7                                   DISTRICT OF NEVADA
                                                                               8   BOARD OF TRUSTEES OF THE                           CASE NO.: 2:19-cv-00252-JAD-VCF
                                                                                   PAINTERS AND FLOORCOVERERS
                                                                               9   JOINT COMMITTEE; et al.,
                                                                                                                                      STIPULATION AND ORDER TO
                             7440 WEST SAHARA AVE., LAS VEGAS, NEVADA 89117




                                                                              10                           Plaintiffs,                EXTEND TIME FOR FILING
CHRISTENSEN JAMES & MARTIN, CHTD.




                                                                                                                                      JOINT PRETRIAL ORDER
                                 PH: (702) 255-1718 § FAX: (702) 255-0871




                                                                              11   vs.
                                                                                                                                      [THIRD REQUEST]
                                                                              12   OLYMPUS AND ASSOCIATES, INC. dba
                                                                                   OLYMPUS PAINTING &
                                                                              13   SANDBLASTING, a Nevada corporation, et
                                                                                   al.,
                                                                              14
                                                                                                           Defendants.
                                                                              15

                                                                              16          Plaintiffs, the Board of Trustees of the Painters and Floorcoverers Joint Committee, et
                                                                              17 al. (“Plaintiffs”), and Defendants Olympus and Associates, Inc., et al. (“Defendants”)

                                                                              18 (collectively the “Parties”), each acting by and through their undersigned counsel, pursuant to

                                                                              19 the LR IA 6-1, hereby stipulate and agree as follows:

                                                                              20          1.       On September 12, 2021, the Court granted the Parties’ Second Stipulation and
                                                                              21 Order to Extend Time for Filing Joint Pretrial Order [ECF No. 48], which extending the

                                                                              22 deadline for filing the proposed Joint Pretrial Order to October 1, 2021.

                                                                              23          2.       The Parties have continued to work toward a final draft of the proposed Joint
                                                                              24 Pretrial Order.

                                                                              25          3.       On Friday, September 24, 2021, Plaintiffs’ counsel emailed a revised redline
                                                                              26 of the proposed Joint Pretrial Order to Defendants’ counsel.

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                                                                               1          4.      Shortly thereafter, but before Defendants’ counsel could access the revised
                                                                               2 draft, McDonald Carano experienced a firm wide server outage which has not yet been

                                                                               3 resolved. This outage has prevented Defendants’ counsel from accessing email and electronic

                                                                               4 files, including potential trial exhibits for review and identification.

                                                                               5          5.      The Parties are attempting to work through this issue but believe that
                                                                               6 additional time is necessary.

                                                                               7          6.      The Parties therefore request an extension of the deadline to file the proposed
                                                                               8 Joint Pretrial Order to October 15, 2021.
                                                                               9          7.      This is the Parties’ third request to extend the deadline to file the proposed
                             7440 WEST SAHARA AVE., LAS VEGAS, NEVADA 89117




                                                                              10 Joint Pretrial Order.
CHRISTENSEN JAMES & MARTIN, CHTD.

                                 PH: (702) 255-1718 § FAX: (702) 255-0871




                                                                              11 CHRISTENSEN JAMES & MARTIN, CHTD.                      MCDONALD CARANO
                                                                              12 By:    /s/ Wesley J. Smith                             By:    /s/ Philip Mannelly
                                                                                 Wesley J. Smith, Esq.                                  Philip Mannelly, Esq.
                                                                              13 Nevada Bar No. 11871                                   Nevada Bar No. 14236
                                                                                 Attorneys for Board of Trustees of the                 Attorneys for Olympus and Associates,
                                                                              14 Painters & Floorcoverers Joint                         Inc. dba Olympus Painting &
                                                                                 Committee, et al.                                      Sandblasting, George Tsiopos, Lazarus
                                                                              15
                                                                                                                                        Tsiopos, and Great American Insurance
                                                                              16 Dated: September 27, 2021                              Company

                                                                              17                                                        Dated: September 27, 2021

                                                                              18
                                                                                                                                 IT IS SO ORDERED.
                                                                              19

                                                                              20
                                                                                                                                 United States Magistrate Judge
                                                                              21
                                                                                                                                          9-29-2021
                                                                              22                                                 Dated:
                                                                              23

                                                                              24 SUBMITTED BY:

                                                                              25 CHRISTENSEN JAMES & MARTIN

                                                                              26 By: /s/ Wesley J. Smith
                                                                                 Wesley J. Smith, Esq.
                                                                              27 Attorneys for Plaintiffs
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                                                                               2                                CERTIFICATE OF SERVICE

                                                                               3        I am an employee of Christensen James & Martin. On the date of filing of the
                                                                                 foregoing papers with the Clerk of Court I caused a true and correct copy to be served in the
                                                                               4 following manner:

                                                                               5
                                                                                 ☒       ELECTRONIC SERVICE: Pursuant to Local Rule LR IC 4-1 of the United States
                                                                               6 District Court for the District of Nevada, the above-referenced document was electronically
                                                                                 filed and served on all appearing parties through the Notice of Electronic Filing
                                                                               7 automatically generated by the Court.

                                                                               8
                                                                                 ☐       UNITED STATES MAIL: By depositing a true and correct copy of the above-
                                                                               9 referenced  document into the United States Mail with prepaid first-class postage, addressed
                             7440 WEST SAHARA AVE., LAS VEGAS, NEVADA 89117




                                                                                 to the parties at their last-known mailing address(es):
                                                                              10
CHRISTENSEN JAMES & MARTIN, CHTD.

                                 PH: (702) 255-1718 § FAX: (702) 255-0871




                                                                                 ☐       OVERNIGHT COURIER: By depositing a true and correct copy of the above-
                                                                              11 referenced document for overnight delivery via a nationally-recognized courier, addressed to

                                                                              12 the parties listed below at their last-known mailing address.

                                                                              13 ☐      FACSIMILE: By sending the above-referenced document via facsimile to those
                                                                                 persons listed on the attached service list at the facsimile numbers set forth thereon.
                                                                              14

                                                                              15                                                      CHRISTENSEN JAMES & MARTIN

                                                                              16                                                      By:    /s/ Natalie Saville
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